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                              UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF ALASKA


      In the matter of:
                                                         Misc. Case No. 06-60001-GS
      REQUEST FOR EXEMPTION
      FROM PACER FEES.

           ORDER GRANTING REQUEST FOR EXEMPTION FROM PACER FEES

               This matter is before the Court upon the application and request by Jeyul Yang

      (Application) for exemption from the fees imposed by the Electronic Public Access fee

      schedule adopted by the Judicial Conference of the United States Courts.

               Having reviewed the Application, IT IS HEREBY ORDERED as follows:

               The Court finds that Jeyul Yang, as an individual researcher associated with an

      educational institution falls within the class of users listed in the fee schedule as being

      eligible for a fee exemption. Additionally, Jeyul Yang has demonstrated that an

      exemption is necessary in order to avoid unreasonable burdens and to promote public

      access to information. Accordingly, Jeyul Yang shall be exempt from the payment of fees

      for access via PACER to the electronic case files maintained in this court, to the extent

      such use is incurred in the course of his academic research to study electronic filing in

      bankruptcy courts.

               Mr. Yang shall not be exempt from the payment of fees incurred in connection

      with other uses of the PACER system in this court. Additionally, the following imitations

      apply:

               1.      this fee exemption applies only to Jeyul Yang and is valid only for the

                       purposes stated above;

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             2.      this fee exemption applies only to the electronic case files of this court that

                     are available through the PACER system;

             3.      by accepting this exemption, Jeyul Yang agrees not to sell for profit

                     any data obtained as a result of receiving this exemption;

             4.      Jeyul Yang is prohibited from transferring any data obtained as a

                     result of receiving this exemption, including redistribution via internet-

                     based databases;

             5.      this exemption is valid until June 30, 2021.

             Finally, this exemption may be revoked at the discretion of the Court at any time.

      A copy of this Order shall be sent to the PACER Service Center.

             DATED this 25th day of January, 2021.

                                                        /s/ Gary Spraker_______________
                                                        GARY SPRAKER
                                                        United States Bankruptcy Judge
      Serve: J. Yang via email
             Janet Stafford, Clerk of Court
             PACER Service Center at pacer@psc.uscourts.gov
